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Counsel for Plaintiff

                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK

    WALTER VOEGTLIN,                             Case No: 1:21-cv-03159-EK-TAM

         Plaintiff,
                                                 NOTICE OF VOLUNTARY DISMISSAL
         v.                                      PURSUANT TO FED. R. CIV. P.
                                                 41(a)(1)(A)(i)
    SYNNEX CORPORATION, KEVIN
    MURAI, DENNIS POLK, FRED
    BREIDENBACH, LAURIE SIMON
    HODRICK, HAU LEE, MATTHEW
    MIAU, DWIGHT STEFFENSEN, ANN
    VEZINA, THOMAS WURSTER,
    DUANE ZITZNER, and ANDREA
    ZULBERTI,

         Defendants.


       PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, Plaintiff Walter Voegtlin hereby voluntarily dismisses the above-captioned

action. Defendants have not served an answer or a motion for summary judgment.

Dated: September 2, 2021                         Respectfully submitted,

                                                 HALPER SADEH LLP

                                                 By: /s/ Daniel Sadeh
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                                CERTIFICATE OF SERVICE

        I, Daniel Sadeh, hereby certify that on September 2, 2021, a true and correct copy of the
annexed NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P.
41(a)(1)(A)(i) was served in accordance with the Federal Rules of Civil Procedure with the Clerk
of the Court using the CM/ECF system, which will send a notification of such filing to all parties
with an email address of record who have appeared and consented to electronic service in this
action.


Dated: September 2, 2021                            /s/ Daniel Sadeh
                                                    Daniel Sadeh




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